






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00127-CV






In the Matter of L. M. M.






FROM COUNTY COURT AT LAW NO. 1 OF BELL COUNTY

NO. 68,021, HONORABLE EDWARD S. JOHNSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant L.M.M., a juvenile, has appealed his adjudication of guilt for the offense
of indecency with a child.  Appellant's brief was first due in this Court on June 6, 2011.  He did not
file his brief by that deadline.  On June 24, this Court notified appellant's counsel that the brief
was&nbsp;overdue and that if counsel failed to file a brief on or before July 5, 2011, a hearing before
the&nbsp;trial court would be ordered.  Appellant's counsel subsequently filed a motion for extension of
time to file his brief, which this Court granted.  At counsel's request, the deadline was extended
to&nbsp;October 3, 2011.  However, this deadline--almost four months after the brief's original due
date--passed without counsel filing a brief.  Instead, on October 10, counsel filed a second
motion&nbsp;for extension of time, requesting an extension until October 13, 2011.  This Court again
granted the requested extension.  But again, no brief was filed by the extended deadline.  Instead, on
October 18, counsel filed a third motion for extension of time, requesting an additional extension
to October 24, 2011.  In this most recent extension motion, counsel did not elaborate as to the
reasons why he still needed additional time to file the brief.

		The requested October 24 deadline has passed and counsel has still not filed a brief.
Consequently, we dismiss the third motion for extension of time as moot, abate the appeal, and
remand the cause to the trial court.  See Tex. R. App. P. 38.8(a)(2), (b)(2), (3).  The trial court shall
hold a hearing immediately to determine whether appellant still wishes to prosecute his appeal,
whether appellant is indigent, and whether counsel has abandoned the appeal.  See id.  If appellant
desires to appeal and is indigent, the trial court should make appropriate orders to ensure that
appellant is adequately represented on appeal.  See id.  Following the hearing, the trial court should
order the appropriate supplementary clerk's and reporter's records to be prepared and forwarded to
this Court no later than December 9, 2011.  See id. 



Before Chief Justice Jones, Justices Pemberton and Henson

Abated

Filed:   November 9, 2011


